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AO 199A (Rev 12/11) Order Setting Conditions of Release Page lof _ 3 Pages

UNITED STATES DISTRICT COURT

for the
District of Columbia F I i. E D

MAR 14 2019

United States of America ) Clerk, U.S. District & Bankruptcy
Vv. ) Courts for the District of Columbia
ROGER JASON STONE, JR. ) Case No. 19-CR-00018 (ABJ)
)
So Defendant - )
AMENDED ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: _ United States District Court for the District of Columbia, Courtroom #3 _

Place
U.S. Courthouse - 333 Constitution Avenue, NW Washington, DC 20001

om AR 80 DoH pice AM

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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AQ 199B (Rev 12/11) Additional Conditions of Release Page 2 of 3 Pages

ADDITIONAL CONDITIONS OF RELEASE
IT tS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of
Person or organization ne __ __ _ ae
Address (onl) if above ts an organization)
City and state Tel Noo
who agrees (o (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings. and (c) notify the court immediately

if the defendant violates a condition of release or is no longer in the custodian’s custody.

 

 

 

Signed: _ es
Custodian Date

(xX) (7) The defendant must:
( X ) (a) submit to supervision by and report for supervision to the Pretrial Services Agency weekly by phone _.

telephone number (202) 442-1000. no laterthan | oo

 

 

 

 

 

 

 

 

 

 

( ) (b) continue or actively seek employment.

( ) (c) continue or start an education program. uf

( X ) (d) surrender any passport to: Prretrial Services Agency for the Distrit of Columbia No OTHER. TRAVEL. wf USA 6

( X ) (e) not obtain a passport or other international travel document. PERMISSION, my NOT TRAVEL OUTSIDE “THE OR

( X ) () abide by the following restrictions on personal association, residence, or travel’ may travel to SD/FL, SD/NY, EDNY, DCD ___
and EDVA. Must notify PSA of plans within 2 business day_o traveling and within one business day upon return.

( X } (g) avoid all contact. directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including all witnesses whose names have been provided to the defense by the OSC ae _

( ) (h) get medical or psychiatric treatment: ee ee ee

( ) () return to custody each oat iO “clock afier being releasedat = sie lock for employment. schooling.
or the following purposes: - ; _ _. oo

( QQ ‘maintain residence at a halfway house or community corrections center. as the pretrial services office or supervising officer « considers
necessary.

( X% ) (k) not possess a firearm. destructive device, or other weapon

( ) (1) not use alcohol ( ) at all ( ) excessively.

( ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U S.C. § 802, unless preseribed by a licensed
medical practitioner.

( ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system. and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct. or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

( ) (©) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

( ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.

( } G) Curfew. You are restricted to your residence every day ( ) from to .or ( Jas
directed by the pretrial services office or supervising officer: or oo OO

( ) (ii) Home Detention. You are restricted to your residence at all mes except for employment; education; religious services: medical.
substance abuse. or mental health treatment: attorney visits: court appearances, court-ordered obligations, or other activities
approved in advance by the pretrial services office or supervising officer; or

(Gil) Home Incarceration, You are restricted to 24-hour-a-day lock-down at your residence eacept for medical necessities and
court appearances or other activities specifically approved by the court.

( ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

(|) You must pay ail or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

( ) (r) report as soon as possible. to the pretrial services office or supervising officer, every contact with law enforcement personnel. inctuding —

arrests, questioning, or traffic stops
( Xx ) (s) verify your address with Pretrial Services Agency for the District of Columbia immediately or by the next

business day. SEE THE ATTACHED ADDENDUM FOR ADDITIONAL CONDITIONS IMPOSED 2/21/2019.
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AO 199C (Rev 09/08) Advice of Penalties Page 3 of 3 Pages
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, tf you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (7 ¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both:

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

    

"Defendant sSignatre
Fort Lauderdale, Florida
Cuy and State

Directions to the United States Marshal

() The defendant is ORDERED released after processing.

( The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions foytplease. If still in custody, the defendant must be produced before
the appropriate judge at the time and place specified.

  
 
  

Date: 3/14/2019

 

 

[/ ‘ | Judicial Officer J Signature

AMY B. JACKSON, U. S. DISTRICT JUDGE

frintea name and ttle

DISTRIBUTION COURT DEFENDANT — PRETRIAL SERVICL US ATTORNEY = US MARSHAL
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ADDENDUM

The conditions of defendant's pretrial release 21 are hereby modified to include the
condition that, and the February 15, 2019 media communications order 36 is hereby
modified to provide that, the defendant is prohibited from making statements fo the
media or in public settings about the Special Counsel's investigation or this case or any
of the participants in the investigation or the case. The prohibition includes, but is not
limited to, statements made about the case through the following means: radio
broadcasts; interviews on television, on the radio, with print reporters, or on internet
based media; press releases or press conferences; blogs or leiters fo the editor; and
posts on Facebook, Twitter, Instagram, or any other form of social media. Furthermore,
the defendant may not comment publicly about the case indirectly by having
statements made publicly on his behalf by surrogates, family members, sookespersons,
representatives, or volunteers.
